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                             EXHIBIT C
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                   IDENTITY OF TRUSTEE AND PROPOSED TERMS OF COMPENSATION


                                              GUC Trustee
                                                Jason Rae
                                          Lain, Faulkner & Co.
                                         400 North St. Paul Street
                                                Suite 600
                                            Dallas, TX 75201.

                                 5% commission/success fee on recoveries.




4810-8833-0169.1
